
55 So. 3d 685 (2011)
Willie L. JACKSON, Appellant,
v.
STATE of Florida, Appellee.
No. 2D10-2662.
District Court of Appeal of Florida, Second District.
February 25, 2011.
Willie L. Jackson, pro se.
KHOUZAM, Judge.
Willie L. Jackson appeals the summary denial of his motion to correct illegal sentence filed pursuant to Florida Rule of Criminal Procedure 3.800(a). Because the postconviction court failed to attach any record documents conclusively showing that Jackson is entitled to no relief, we must reverse. See Fla. R.App. P. 9.141(b)(2)(D). If the trial court again enters an order summarily denying the claims, the court shall attach record documents conclusively showing that Jackson is not entitled to any relief.
Reversed and remanded.
NORTHCUTT and KELLY, JJ., concur.
